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 5   Attorney for Defendant Romulo Loera

 6
                                  UNITED STATES BANKRUPTCY COURT
 7                                 CENTRAL DISTRICT OF CALIFORNIA
                                          RIVERSIDE DIVISION
 8

 9    In re                                                 Case No. 6:19-bk-18467-WJ
10    ROMULO LOERA,                                         Adv. 6:20-ap-01004-WJ
11                 Debtor.                                  Before the Honorable Wayne E. Johnson
12
      TROY DAUL AND ANDREA DAUL                             Chapter 7
13    TRUSTEES OF THE TROY DAUL AND
      ANDREA DAUL FAMILY TRUST DATED                        DEFENDANTS’ AMENDED ANSWER
14    MARCH 8, 2006,                                        TO COMPLAINT TO DETERMINE
                                                            DISCHARGEABILITY UNDER 11
15    PHILIP A. RADMER AND RITA J. RADMER,                  U.S.C. § 523 AND OBJECTING TO
      TRUSTEES OF THE PHILLIP A. RADMER                     DISCHARGE UNDER 11 U.S.C. § 727
16    TRUST DATED OCTOBER 27, 2001
17    MARK A. GILLELAND AND SHIRLEE I.
      GILLELAND, TRUSTEES OF THE MARK A.
18    GILLELAND AND SHIRLEY T. GILLELAND
      TRUST DATED OCTOBER 27, 2001
19
                             PLAINTIFFS
20
      vs.
21
      ROMULO LOERA,
22
                              Defendant
23

24
               Pursuant to F.R.C.P. 15 (a)(1)(A), Defendant Romulo Loera (hereinafter referred to as
25
     “Defendant”) hereby files his Amended1 Answer to Complaint to Determine Dischargeability under
26

27
               1
             On 2-4-2020, the Defendant filed an Answer to the Complaint in pro per, while he was in the
28   process of retaining litigation counsel, without informing litigation counsel of same. On 2-5-2020,

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 1   11 U.S.C. § 523 and Objecting to Discharge under 11 U.S.C. § 727 (hereinafter referred to as

 2   “Complaint”) filed by Plaintiffs Troy Daul and Andrea Daul Trustees of the Troy Daul and Andrea

 3   Daul Family Trust Dated March 8, 2006; Philip A. Radmer and Rita J. Radmer, Trustees of the

 4   Phillip A. Radmer Trust Dated October 27, 2001; & Mark A. Gilleland and Shirlee I. Gilleland,

 5   Trustees of the Mark A. Gilleland and Shirley T. Gilleland Trust Dated October 27, 2001

 6   (hereinafter referred to as “Plaintiffs”).

 7                                       JURISDICTION AND VENUE

 8   1.        Admit

 9   2.        Admit

10   3.        Admit

11   4.        Admit

12                                                  PARTIES

13   5.        Admit as to who the Plaintiffs are. Denied that Plaintiffs are creditors of Debtor with claims

14             in excess of $450,000.

15   6.        Admit

16                                        COMMON ALLEGATIONS

17   7.        Admitted that on June 1, 2013, the Debtor entered into a Promissory Note on behalf of

18             MNM Auto, Inc. and in favor of Troy Daul and Andrea Daul Trustee of the Troy Daul and

19             Andrea Daul Family Trust Dated March 8, 2006 (“Daul Promissory Note 1”). Admit that

20             Daul Promissory Note 1 was in the amount of $75,000. Admit that Debtor personally

21             guaranteed this promissory note. Denied that it was contemplated by the parties and

22             promised by Debtor to the Daul Plaintiffs at the time the Daul Plaintiffs provided the

23             $75,000 in monies to Debtor related to Debtor’s auto dealership, that Debtor would keep all

24             proceeds from sales related to automobiles purchased with the $75,000 in a segregated

25

26
     the Defendant retained counsel, disclosed his in pro per filing, which necessitated this amendment
27   per F.R.C.P. 15(a)(1)(A) that provides: Amended and Supplemental Pleadings (a) Amendments
     Before Trial (1) Amending as a Matter of Course. A party may amend its pleading once as a matter
28   of course within: (A) 21 days after serving it.

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 1             account, such that Debtor should always have on hand: (1) the $75,000 in monies borrowed

 2             from the Daul Plaintiffs; (2) the automobiles purchased with the $75,000; (3) proceeds from

 3             the sale of Automobiles purchased with the $75,000; or (4) some combination of items 1, 2,

 4             and 3. The Daul Promissory Note 1 provides no such requirement.

 5   8.        Admit that on July 1, 2013, the Debtor entered into a second Promissory Note on behalf of

 6             MNM Auto, Inc. and in favor of Troy Daul and Andrea Daul Trustee of the Troy Daul and

 7             Andrea Daul Family Trust Dated March 8, 2006 (“Daul Promissory Note 2”). Admit that

 8             the Daul Promissory Note 1 was in the amount of $75,000. Admit that Debtor personally

 9             guaranteed this promissory note. Deny that it was contemplated by the parties and promised

10             by Debtor to the Daul Plaintiffs at the time the Daul Plaintiffs provided the $75,000 in

11             monies to Debtor related to Debtor’s auto dealership, that Debtor would keep all proceeds

12             from sales related to automobiles purchased with the $75,000 in a segregated account, such

13             that Debtor should always have on hand: (1) the $75,000 in monies borrowed from the Daul

14             Plaintiffs; (2) the automobiles purchased with the $75,000; (3) proceeds from the sale of

15             automobiles purchased with the $75,000; or (4) some combination of items 1, 2, and 3. The

16             Daul Promissory Note 2 provides no such requirement.

17   9.        Admit that on October 1, 2014, the Debtor entered into a Promissory Note on behalf of

18             MNM Auto, Inc. and in favor of Philip A. Radmer and Rita J. Radmer, Trustees of the

19             Philip A. Radmer Trust Dated October 27, 2001 (“Radmer Promissory Note). Admit that

20             the Radmer Promissory Note was in the amount of $150,000. Admit that Debtor personally

21             guaranteed this promissory note. Denied that it was contemplated by the parties and

22             promised by Debtor to the Radmer Plaintiffs at the time the Radmer Plaintiffs provided the

23             $150,000 in monies to Debtor related to Debtor’s auto dealership, that Debtor would keep

24             all proceeds from sales related to automobiles purchased with the $150,000 in a segregated

25             account, such that Debtor should always have on hand: (1) the $150,000 in monies

26             borrowed from the Radmer Plaintiffs; (2) the automobiles purchased with the $150,000; (3)

27             proceeds from the sale of automobiles purchased with the $150,000; or (4) some

28             combination of items 1, 2, and 3. The Radmer Promissory Note provides no such

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 1             requirement.

 2   10.       Admit that on October 1, 2014, the Debtor entered into a Promissory Note on behalf of

 3             MNM Auto, Inc. and in favor of Mark A. Gilleland and Shirlee I. Gilleland, Trustees of the

 4             Mark A. Gilleland and Shirley I. Gilleland Trust Dated October 27, 2001 (“Gilleland

 5             Promissory Note). Admit that the Gilleland Promissory Note was in the amount of

 6             $150,000. Admit that the Debtor personally guaranteed this promissory note. Denied that it

 7             was contemplated by the parties and promised by Debtor to the Gilliland Plaintiffs at the

 8             time the Gilliland Plaintiffs provided the $150,000 in monies to Debtor related to Debtor’s

 9             auto dealership, that Debtor would keep all proceeds from sales related to automobiles

10             purchased with the $150,000 in a segregated account, such that Debtor should always have

11             on hand: (1) the $150,000 in monies borrowed from the Gilliland Plaintiffs; (2) the

12             automobiles purchased with the $150,000; (3) proceeds from the sale of automobiles

13             purchased with the $150,000; or (4) some combination of items 1, 2, and 3. The Gilleland

14             Promissory Note provides no such requirement.

15   11.       Denied. The Promissory Notes provides no such requirement to open segregated accounts

16             related to monies concerning the aforementioned promissory notes. Therefore, the

17             Defendant did not fail to do something he was not obligated to do.

18   12.       Admit that within approximately thirty days prior to Debtor’s filing of the instant petition,

19             Debtor transferred properties (a-f) to his former wife, Maria Loera. Denied that the transfers

20             were for no consideration or inadequate consideration.

21                         FIRST CLAIM FOR RELIEF - 11 U.S.C. § 523(A)(2)(A)

22   13.       Defendant is without knowledge or information sufficient to form a belief as to the truth of

23             the allegations in Paragraph 13 and on that basis denies the allegations of Paragraph 13.

24   14.       Denied

25   15.       Denied that the Debtor promised to keep all monies loaned to Debtor and Debtor’s

26             company in a segregated account such that such that Debtor should always have on hand:

27             (1) the $450,000 in monies collectively borrowed from the Plaintiffs; (2) the automobiles

28             purchased with the $450,000; (3) proceeds from the sale of automobiles purchased with the

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 1             $450,000; or (4) some combination of items 1, 2, and 3. The Promissory Notes provides no

 2             such requirement to open segregated accounts related to monies concerning the

 3             aforementioned promissory notes. Therefore, the Defendant did not fail to do something he

 4             was not obligated to do. Denied that the Debtor intentionally failed to segregate the

 5             aforementioned monies. Defendant is without knowledge or information sufficient to form a

 6             belief as to the truth of the balance of the allegations in Paragraph 15 and on that basis

 7             denies the allegations of Paragraph 15.

 8   16.       Denied that Debtor took possession of Plaintiffs’ monies as the result of false

 9             representations, or representations made with a reckless disregard for the truth. Defendant is

10             without knowledge or information sufficient to form a belief as to the truth of the balance of

11             the allegations in Paragraph 16 and on that basis denies the allegations of Paragraph 16.

12                        SECOND CLAIM FOR RELIEF - 11 U.S.C. § 523(A)(2)(A)

13   17.       Defendants are without knowledge or information sufficient to form a belief as to the truth

14             of the allegations in Paragraph 17 and on that basis deny the allegations of Paragraph 17.

15   18.       Denied that the Debtor, engaged in actual fraud.

16   19.       Admitted that within approximately thirty days prior to filing the subject bankruptcy

17             petition, Debtor transferred his interest in the property described in paragraph 12 above.

18             Denied that the transfers were for no consideration or for inadequate consideration. Denied

19             that the Debtor did so in an effort to fraudulently conceal his assets from his creditors.

20             Defendant is without knowledge or information sufficient to form a belief as to the truth of

21             the balance of the allegations in Paragraph 19 and on that basis denies the allegations of

22             Paragraph 19.

23                           THIRD CLAIM FOR RELIEF - 11 U.S.C. § 523(A)(6)

24   20.       Defendant is without knowledge or information sufficient to form a belief as to the truth of

25             the allegations in Paragraph 20 and on that basis denies the allegations of Paragraph 20.

26   21.       Denied that the Debtor willfully and maliciously injured the property of Plaintiffs by virtue

27             of the intentional actions described above in paragraph 12. Admit that the Debtor acted

28             willfully by transferring the property described in paragraph 12 roughly thirty days prior to

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 1             filing the subject bankruptcy. Denied that said transfers were done intentionally, which

 2             necessarily caused injury, and were done without just cause or excuse. Defendant is without

 3             knowledge or information sufficient to form a belief as to the truth of the allegations in

 4             Paragraph 21 and on that basis denies the allegations of Paragraph 21.

 5                         FOURTH CLAIM FOR RELIEF - 11 U.S.C. § 727(A)(2)

 6   22.       Defendant is without knowledge or information sufficient to form a belief as to the truth of

 7             the allegations in Paragraph 22 and on that basis denies the allegations of Paragraph 22.

 8   23.       Admit that within one year before the Petition Date, the Debtor transferred or permitted to

 9             be transferred property of the Debtor. Denied that within one year before the Petition Date,

10             the Debtor removed, concealed, removed, or concealed property of the Debtor with the

11             intent to hinder, delay, or defraud creditors and officers of the Debtor's Estate (including,

12             but not limited to, Plaintiffs and the Estate Trustee).

13   24.       Defendant is without knowledge or information sufficient to form a belief as to the truth of

14             the allegations in Paragraph 24 and on that basis denies the allegations of Paragraph 24.

15
                                           AFFIRMATIVE DEFENSES
16

17                                     FIRST AFFIRMATIVE DEFENSE
                                       (FAILURE TO STATE A CLAIM)
18
     25.       Plaintiffs’ Complaint fails to state a claim upon which relief may be granted.
19
                                      SECOND AFFIRMATIVE DEFENSE
20                                            (ESTOPPEL)

21   26.       Plaintiffs’ Complaint is barred by the doctrine of estoppel

22                                     THIRD AFFIRMATIVE DEFENSE
                                                (LACHES)
23
     27.       Plaintiffs’ Complaint is barred by the doctrine of laches.
24
                                      FOURTH AFFIRMATIVE DEFENSE
25                                             (WAIVER)

26   28.       Plaintiffs’ Complaint is barred by the doctrine of waiver.

27

28

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 1                                     FIFTH AFFIRMATIVE DEFENSE
                                            (UNCLEAN HANDS)
 2
     29.       Plaintiffs’ Complaint is barred or abated substantially by the doctrine of unclean hands.
 3
                                       SIXTH AFFIRMATIVE DEFENSE
 4                                        (FAILURE TO MITIGATE)

 5   30.       Without any admission by Defendant that Plaintiffs suffered injury in any way, to the extent

 6             that Plaintiffs did suffer such injury, their claims are barred in whole or in part because they

 7             failed to use reasonable means to prevent the alleged damage and failed to use reasonable

 8             means to mitigate their damages.

 9                                  SEVENTH AFFIRMATIVE DEFENSE
                                           (NO DAMAGES)
10
     31.       Plaintiffs’ Complaint fails in whole or in part to the extent they have suffered no damages.
11
                                     EIGHTH AFFIRMATIVE DEFENSE
12                                            (SET-OFF)

13   32.       Plaintiffs’ Complaint is barred, in whole or in part, by the right of Defendant to a set-off

14             against any such damages.

15                                    NINTH AFFIRMATIVE DEFENSE
                                         (ACTUAL KNOWLEDGE)
16
     33.       Plaintiffs’ Complaint is barred because they had actual knowledge of the alleged acts taken
17
               by the Defendant that allegedly damaged Plaintiffs but did not take any action to controvert,
18
               stop or otherwise prevent the acts and in fact participated in the decision making of the acts
19
               that purportedly damaged Plaintiffs.
20
                               TENTH AFFIRMATIVE DEFENSE
21                  (NO FACTUAL ALLEGATION OF A FALSE REPRESENTATION
                    WITH RESPECT TO EXISTING AND ASCERTAINABLE FACTS)
22
     34.       Plaintiffs’ claims under 11 U.S.C. § 523(a)(2)(A) must be denied as Defendant made no
23
               false representation with respect to existing and ascertainable facts.
24
                       ELEVENTH AFFIRMATIVE DEFENSE
25        (NO FACTUAL ALLEGATION OF JUSTIFIABLE RELIANCE OF A FALSE
      REPRESENTATION WITH RESPECT TO EXISTING AND ASCERTAINABLE FACTS)
26
     35.       Plaintiffs’ claims under 11 U.S.C. § 523(a)(2)(A) must be denied as Plaintiffs did not
27
               justifiably rely of a false representation by Defendant with respect to existing and
28

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 1             ascertainable facts.

 2                             TWELFTH AFFIRMATIVE DEFENSE
                   NO FACTUAL ALLEGATION OF WILLFUL & MALICIOUS INJURY
 3
     36.       Plaintiffs’ claims under 11 U.S.C. § 523(a)(6) must be denied as Defendant did not willfully
 4
               and/or maliciously intend to injure Plaintiffs.
 5
                             THIRTEENTH AFFIRMATIVE DEFENSE
 6                      TRANSFERS DONE PURSUANT TO A FAMILY LAW
                   DIVORCE DECREE LACK ANY INTENT TO DEFRAUD CREDITORS
 7
     37.       Plaintiffs’ claims under 11 U.S.C. § 727(A)(2) must be denied because Defendant did not,
 8
               within one year before the Petition Date, transfer, remove, conceal or permitted to be
 9
               transferred, removed, or concealed property of the Debtor with the intent to hinder, delay,
10
               or defraud creditors and officers of the Debtor's Estate (including, but not limited to,
11
               Plaintiffs and the Estate Trustee), including, but not limited to Debtor’s interests in the
12
               property described in paragraph 12 above.
13
                                 FOURTEENTH AFFIRMATIVE DEFENSE
14                                      SHAM GUARANTY

15   38.       Plaintiffs’ claims under 11 U.S.C. § 523(a)(2)(A) must be denied the alleged personal

16             guaranty is a sham guaranty.

17   WHEREFORE, Defendant prays:

18   1.        That this Court deny Plaintiffs Complaint pursuant to 11 U.S.C. § 523(a)(2)(a), 11 U.S.C. §

19             523(a)(6) & 11 U.S.C. § 727(a)(2);

20   2.        Plaintiffs take nothing by their Complaint;

21   3.        That this Court enter a judgement in favor of Defendant that his debts to Plaintiffs pursuant

22             to 11 U.S.C. § 523(a)(2)(a), 11 U.S.C. § 523(a)(6) be discharged;

23   4.        That this Court enter a judgement in favor of Defendant that the cause of action pursuant to

24             11 U.S.C. § 727(a)(2) be denied and that Debtor receive his bankruptcy discharge.

25   5.        That pursuant to 11 U.S.C. § 524(a)(1) and (2), this discharge should also serve to void any

26             future judgment to determine the personal liability of Defendant and operate as a permanent

27             injunction against any actions whether commenced pre-petition or post-petition.

28   6.        That this Court award Defendant’s costs and reasonable attorney’s fees in an amount which

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 1             will be ascertained, pursuant to 11 U.S.C. § 523(d), F.R.C.P 11 and F.R.B.P. 9011.

 2   7.        That this Court award Defendant any further relief as this Court deems just.

 3

 4   DATED:           February 10, 2020             LAW OFFICE OF BARUCH C. COHEN
                                                    A Professional Law Corporation
 5

 6                                                  By     /S/ Baruch C. Cohen
                                                    Baruch C. Cohen, Esq.
 7                                                  Attorney for Defendant Romulo Loera

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                     4929 Wilshire Boulevard, Suite 940, Los Angeles CA 90010

A true and correct copy of the foregoing document entitled DEFENDANTS’ AMENDED ANSWER TO COMPLAINT TO
DETERMINE DISCHARGEABILITY UNDER 11 U.S.C. § 523 AND OBJECTING TO DISCHARGE UNDER 11 U.S.C. §
727 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On February
10, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Douglas A Plazak (PL)                    dplazak@rhlaw.com
United States Trustee (RS)               ustpregion16.rs.ecf@usdoj.gov
Baruch C Cohen (DF)                      bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On February 10, 2020, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on February 10, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Wayne E. Johnson, 3420 Twelfth Street, Suite 384, Riverside, CA 92501-3819




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 10, 2020                Baruch C. Cohen                                               /s/ Baruch C. Cohen
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
